

Iken-Murphy v State Farm Ins. Co. (2021 NY Slip Op 03550)





Iken-Murphy v State Farm Ins. Co.


2021 NY Slip Op 03550


Decided on June 08, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 08, 2021

Before: Webber, J.P., Singh, Moulton, González, JJ. 


Index No. 150094/17 Appeal No. 14034 Case No. 2020-04401 

[*1]Monica Iken-Murphy et al., Plaintiffs-Appellants,
vState Farm Insurance Company, Defendant-Respondent.


Monica Iken-Murphy and Robert Murphy, appellants pro se.
Feldman, Rudy, Kirby &amp; Farquharson, P.C., Jericho (Brian R. Rudy of counsel), for respondent.



Order, Supreme Court, New York County (Francis A. Kahn, III, J.), entered on or about September 1, 2020, which denied plaintiffs' motion for summary judgment, granted defendant's cross motion for summary judgment and declared that defendant is not required to indemnify plaintiffs, unanimously affirmed, without costs.
The court correctly enforced the provision of the insurance policy setting a two-year statute of limitations as reasonable (see Blitman Constr. Corp. v Insurance Co. of N. Am. , 66 NY2d 820, 822 [1985]). Insurance policies are permitted to specify a limitations period running from the occurrence of a loss event (Marguiles v Quaker City Fire &amp; Mar. Ins. Co. , 276 App Div 695, 700 [1st Dept 1950]). Here, there is no reason presented not to enforce the policy's unambiguous limitation provision.	 Plaintiffs' contention that defendant's action effectively lulled them into complacency is also unavailing, as there is no evidence that defendant intentionally relinquished its right to enforce the limitation period (Gilbert Frank Corp. v Federal Ins. Co. , 70 NY2d 966, 968 [1988]). 
	 THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 8, 2021








